
PER CURIAM:
[i Denied. Relator fails to show the state withheld material exculpatory evidence in violation of Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d 215 (1963). As to his remaining claims, relator fails to show any factual issues of signifícánce are sharply contested and therefore fails to show the district court abused its discretion when it resolved his claims without an evidentiary hearing. La.C.Cr.P. art. 928; La.C.Cr.P. art. 929(A); State ex rel. Tassin v. Whitley, 602 So.2d 721, 722-23 (La. 1992). We.attach hereto and make a part hereof the district court’s written reasons denying relator’s application.
Relator has now fully, litigated his application for post-conviction relief in state court. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction ■ procedure envisions the filing of a second or successive application only , under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably, the legislature in 2013 La. Acts 251 amended that article .to make the procedural bars against successive filings mandatory. Relator’s claims have now been fully litigated in accprd with La. C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can |2show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The district court is ordered to record a minute entry consistent with this per curiam.
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Johnson, Chief Justice, would grant the writ application.
